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                         United States District Court
                               NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 2999TC ACQUISITIONS, LLC f/k/a               §
 MO 2999 TC, LLC, and                         §
 TIMOTHY L. BARTON                            §
                                              §
 v.                                           §     CIVIL ACTION NO. 3 :20-CV-3229-S-BT
                                              §
 2999 TURTLE CREEK, LLC,                      §
 MADISON REALTY CAPITAL, LP,                  §
 MARC ZEGEN, and JOSHUA ZEGEN                 §

            ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
       RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

       The United States Magistrate Judge made findings, conclusions, and a recommendation in

this case [ECF No. 65]. No objections were filed.     The Court has reviewed the Findings,

Conclusions, and Recommendation for plain error. Finding none, the Court ACCEPTS the

Findings, Conclusions, and Recommendation of the United States Magistrate Judge.

       SO ORDERED.

       SIGNED July 26, 2021.



                                                    REN GREN SCHOLER
                                                  UNITED STATES DISTRICT JUDGE




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